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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

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UNITED STATES DISTRICT COURT #8? 8-3 cF cocor Ape
for the itt JAN 30 AN IO: 26
District of Colorado Typ COLWELL
. CLE
Division
BY nee DEP. OLE
THOMAS ARCHIE STOCKS
) Case No.
) (to be filled in by the Clerk's Office)
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. a
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) LI Yes [_]no
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
“Ve )
BRENT MECHAM )
JOD! MILDREN )
)
)
Defendant(s) )
(Write the full name of each defendant who is being sued. If the )
names of all the defendants cannot fit in the space above, please )

write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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L The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant(s)

THOMAS ARCHIE STOCKS

2518 S. PITKIN WAY

AURORA co 80013
City State Zip Code
UNITED STATES OF AMERICA

303-419-4695

Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name
Job or Title (known)
Address

County
Telephone Number

E-Mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

Brent E. Mecham, #40822

Johnson Law Group, LLC.

1801 Broadway St. Suite 900

DENVER co 80202
City State Zip Code

UNITED STATES OF AMERICA

720.452.2540

[| Individual capacity Official capacity

Jodi Mildren

Douglas County Department of Human Services

4400 Castleton Court

Castle Rock co 80109
City State Zip Code

UNITED STATES OF AMERICA

303.814.7127

jmildren@douglas.co.us

[] Individual capacity Official capacity

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I.

Defendant No. 3
Name
Job or Title (if known)
Address

City State Zip Code

County
Telephone Number
E-Mail Address (if known)

[ ] Individual capacity [| Official capacity

Defendant No. 4
Name
Job or Title (if known)
Address

City State Zip Code

County
Telephone Number
E-Mail Address (if known)

[| Individual capacity [| Official capacity
Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
[| Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
The Child Abuse Prevention and Treatment Act Childrens rights are human rights that are essential to
living as human beings. Children’ s rights are absolute and fundamental to advancing the human rights
of all human beings. Each child has a right to be raised in a nurturing, loving family, with basic needs
like food, primary health care, and formal education. In addition, each child has the right to be protected
from abuse, neglect, and maltreatment. Children should be protected from kidnapping and trafficking.

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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Dz. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

We hold these truths to be self-evident, that all men are created equal, that they are endowed by their
Creator with certain unalienable Rights, that among these are Life, Liberty and the pursuit of Happiness.

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?

Arapahoe District Court
Centennial Colorado

B. What date and approximate time did the events giving rise to your claim(s) occur?
BRENT MECHAM December 1, 2023

JODI MILDREN December 28, 2023

C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

BRENT MECHAM acting as a court officail told Thomas Stocks he could only see his children under
supervision.

JOD! MILDREN is trying to force Thomas Stocks to pay for counseling when BRENT MECHAM and
the Mother, Michelle Stocks is committing the Child Abuse.

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IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

MENTAL HEALTH ISSUES

V. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

LET A JURY DECIDE

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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 01/29/2024

Signature of Plaintiff
Printed Name of Plaintiff THOMAS ARCHIE STOCKS

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code
Telephone Number
E-mail Address

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